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                             MILMAN LABUDA LAW GROUP PLLC
                                               3000 MARCUS AVENUE
                                                     SUITE 3W8
                                              LAKE SUCCESS, NY 11042
                                                      _________

                                              TELEPHONE (516) 328-8899
                                              FACSIMILE (516) 328-0082
                                                                               November 20, 2023
 Author: Kyle F. Monaghan - Associate
 Direct E-Mail Address: kyle@mllaborlaw.com
 Direct Dial: (516) 303-1361


 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Nusrat J. Choudhury, U.S.D.J.
 100 Federal Plaza, Courtroom 1040
 Central Islip, New York 11722

          Re:       Bullion Shark, LLC v. Flip a Coin Bullion LLC, et al
                    Case No.: 2:23-cv-06529 (JCR) (ARL)       ________

 Dear Judge Choudhury:

         This firm represents Plaintiff, Bullion Shark, LLC (“Plaintiff” or “Bullion Shark”), in the
 above-referenced case. Plaintiff submits this letter response in opposition to Defendants’ contrived
 motion to adjourn the emergency Order to show cause Plaintiff has filed. Plaintiff is prepared to
 address the defenses raised by Defendants in their opposition papers at the hearing and vehemently
 objects to any continuance whatsoever of tomorrow’s scheduled appearance for 4:00 PM based on
 the nature of the instant application.

         In light of same, Plaintiff is prepared to fly the individual Defendants out tomorrow
 morning, one-way, for arrival in New York in the early afternoon so that they may appear in Court
 as directed to, with up to $1,000.00 in total airfare for all Defendants combined. Barring same, at
 a minimum, it is respectfully submitted that the hearing should proceed with Defendants appearing
 virtually through Zoom or another acceptable virtual platform. However, an in-person appearance
 is preferred to allow this Court to properly assess the Defendants’ credibility.

          To the extent that this Court is inclined to grant Defendants the time they seek, Plaintiff
 respectfully submits that a temporary restraining Order be issued, as requested, until such time that
 Defendants appear by counsel, as required, and a hearing is conducted. Plaintiff thanks this Court
 for its time and attention to this case.

 Dated: Lake Success, New York
        November 20, 2023                             Respectfully,

                                                             /s/
                                                      Kyle F. Monaghan, Esq.

 cc: Defendants – via email only.
